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AO 106 (Rev 04110) Apphcat1on for a Search Warrant lrequestmg AUSAJose R Arteaga)



                                       UNITED ST ATES DISTRICT COURT
                                                                     for the
                                                      Eastern District of Pennsylvania

              In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)                                   Case No. ·    1..v"    ~O~
    Information associated with Apple iPhone cellular device
    Model A1633, assigned with (646) 897-4012 that is in the
    care, custody or control of the FBI, Philadelphia Division

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property f1dentify the person or describe the
property to be searched and give its /ocat10n)
                                                         See Attached Affidavit

located in the            EASTERN                District of         PE;-..;>.;SYLVA~IA               , there is now concealed {1denttfy the
person or describe the property to be seized):
   Information associ~ted with Apple iPhone cellular device Model Al633, assigned with (646) 897-4012 that is in the care, custody
   or control of the FBI, Philadelphia Division

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~ evidence of a crime;
                 if contraband, fruits of crime, or other items illegally possessed;
                ~ property designed for use, intended for use, or used in committing a crime;
                 n a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Sectwn                                                                Offense Descnptwn
             18 t.:.S.C. § 1951(a);                   attempted armed robbery which interfered with interstate commerce; using, carrying
             18 t.:.S.C. § 924(c)(I)                  and brandishing ofa firearm during in relation to a crime of violence.

          The application is based on these facts:
                                                                   See Attached Affidavit


         0     Continued on the attached sheet.
          0 Delayed notice of       days (give exact ending date if more than 30 days:                                        ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                           -1~~/"af.:~
                                                                                        FAITH E. GREEJ\iA WALT, Special Agent, FBI
                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:      ~ - J-T-- J-0
                                                                                    v~~
City and state: PlllLADELPHIA,           PE}.;;\;SYLVA~IA                           HO~ORABLE          THOMAS J. Rt.:ETER, U.S.M.J
                                                                                    ~  .                              -
                                                                                                     Printed name and title
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                             IN THE UNITED STATES DISTRICT COCRT
                          FOR THE EASTER."'J DISTRICT OF PENNSYLVANIA

     IN THE MATTER OF THE SEARCH OF                   I
     BLACK APPLE IPHONE 6S, MODEL                     I
     A1633, IMEi 353255079143106,                     I MAGISTRATE NO.
     CURRENTLY LOCATED AT THE FBI
     PHILADELPHIA DIVISION AND
     ASSIGNED EVIDENCE ITEM ".\4UMBER
     1B151

      AFFIDAVIT      I~   SL'PPORT OF AN APPLICATION UNDER FED.R.CRlM.PROC. 41
                                 FOR A WARRANT TO SEARCH

           I, Faith E. Greenawalt, being duly sworn, hereby depose and state the following:

       A. INTRODUCTION AND AGENT BACKGROUND

            1.     I make this affidavit in support of an application under Rule 41 of the Federal

    Rules of Criminal Procedure for a search warrant authorizing the examination of property-an

    electronic device-which is currently in law enforcement possession, and the extraction from

    that property of electronically stored information described in Attachment B.

           2.      I am a Special Agent with the Federal Bureau of Investigation ("FBI") assigned to

    the Philadelphia, Pennsylvania Division, and have been so since July 2013. I am currently

    assigned to the Violent Crimes Task Force (".VCTF") which investigates violations of Federal

    law, to include robberies of banks, robberies of businesses that affect interstate commerce (also

    known as Hobbs Act robberies), kidnappings, and fugitives. Previously, I was assigned to the

    Counterintelligence squad where I investigated Counter Proliferation, among other violations.

    am familiar with federal search warrants and seizing evidence in accordance with the probable

    cause set forth in the affidavits. I have authored and executed federal search warrants in the past.

           3.      The information contained in this affidavit is based upon my personal knowledge,

    experience, and investigation, as well as information related to me directly or through reports of
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other FBI agents, FBI task force officers, Philadelphia Police Department ("PPD") officers, and

other law enforcement officers in the course of their official duties.

       4.         Because this affidavit is submitted for the limited purpose of obtaining a search

warrant, I have not included all information known by me or other agents concerning this

investigation. I have set forth only those facts I believe are essential to establish the necessary

foundation for the search warrant. This affidavit does not exhaust my knowledge, or that of

other agents, of the facts and circumstances surrounding this investigation.

   B. IDENTIFICATION OF THE DEVICES TO BE SEARCHED

       5.         This affidavit is being submitted in support of an application for a search warrant-

for the following (hereinafter as the "Subject Telephone") cell phone of TYREE HOLMES.

            a.       A black Apple iPhone 6s, model Al633, IMEI 353255079143106, currently

                     located at the FBI Philadelphia Division and assigned evidence item number

                      1Bl51 within FBI case file 192C-PH-3147066, which was seized from

                     HOLMES' person.

       6.         Through the course of this investigation, HOL!viES has been identified as

committing an attempted armed armored car robbery, in violation of 18 U.S.C. §§ I 951(a)

(attempted robbery which interferes with interstate commerce), 18 U.S.C. §§ 924(c)(I) (using,

carrying, and brandishing a firearm during and in relation to a crime of violence), and 18 U.S.C.

§§ 2 (aiding and abetting).

       7.         The item to be seized pursuant to the search warrant is more fully described in

Attachment B.




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   C. PROBABLE CAUSE

        8.     This is an investigation into an attempted armed robbery of an armored truck, in

violation of 18 U.S.C. § 1951, 18 U.S.C. § 924(c), and 18 U.S.C. § 2. The robbery occurred on

August 1, 2019. As discussed below, there is probable cause to believe that one of the suspects

is TYREE HOLMES.

        9.     On August 1, 2019, at approximately 10:01 a.m., two unidentified males,

('"SUSPECT #1" and "SUSPECT #2"), and an unidentified driver, ("SCSPECT #3), attempted to

rob a Gardaworld armored car ('"armored car''), at 3535 Market Street, Philadelphia,

Pennsylvania, by point of semi-automatic assault rifle and semi-automatic handgun.

        10.    The driver of the armored car, E.W. ('"VICTIM #l "),exited the armored car

through the side messenger door. VICTIM #l's partner and fellow Gardaworld employee, R.W.

('"VICTIM #2"), handed VICTIM #1 three carrier bags. VICTIM #l held two of the carrier bags,

which were bundled together, in one hand, and the third bag in the opposite hand. lbe first bag

contained approximately $176,000 in cash, the second bag contained approximately $157,000 in

cash, and the third bag contained approximately $101,000 in cash, for a total of $434,000 in

cash.

        11.    VICTIM #1 turned around and walked up the front steps of the building with the

bags. SUSPECT #l then ran up the stairs to the right of VICTIM #l carrying an assault rifle with

a black and red strap. SUSPECT #l yelled at VICTIM #1, '"Give it up!" SUSPECT #2 then ran

up the stairs behind SUSPECT #l carrying a black Glock 17 handgun.

        12.    VICTIM #l immediately dropped the bags he was carrying and took two steps

backwards. SCSPECT #2 picked up the bags (one bundled bag and the other single bag).




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SUSPECT #1 and SUSPECT #2 then attempted to run down the same set of stairs traveling in

the direction they came.

        13.     As SUSPECT #1 fled down the stairs, SUSPECT #l dropped a drum style

magazine from his assault rifle onto the sidewalk. SUSPECT #1 then entered the passenger side

front seat of a burgundy Chevrolet Trailblazer, Pennsylvania license plate number JPB-6437,

VIN: 1GNDT13S362237386, ("suspect vehicle"). The suspect vehicle was parked directly

behind a   ~issan   Altima which was parked directly behind the armored car on the east side of

36th Street (3535 Market Street). As SUSPECT #1 entered the suspect vehicle, VICTIM #1 and

VIG!IM #2 fired their weapons at SUSPECT #1 and the suspect vehicle. SUSPECT #3, the

driver of the suspect vehicle, then reversed the suspect vehicle, put the suspect vehicle in drive,

and drove northbound on 36th Street.

        14.     As SUSPECT #2 simultaneously fled down the stairs, SUSPECT #2 dropped one

bag of money and the black Glock 17 semi-automatic handgun onto the ground. SUSPECT #2

continued to run southbound on 36th Street and turned left heading eastbound on Market Street,

where SCSPECT #2 dropped the remaining bags of money. As SUSPECT #2 fled southbound

down 36th Street, VICTIM #l and VICTIM #2 also fired their weapons at SUSPECT #2.

       15.      SUSPECT #l was described as a black male, approximately 5'8" to 5' 10" in

height, stocky build, wearing a black full-faced ski mask, black shirt, and black pants. The

weapon carried by SUSPECT #1 was described as an assault rifle with a handguard with air

vents around the receiver. The rifle was attached to a red and black strap that SUSPECT #1 had

around his shoulder. The assault rifle also had a drum style magazine full of ammunition.

       16.      SUSPECT #2 was described as a black male, approximately 6'0" to 6'2" in

height, slender build, wearing a black full-faced mask, black long sleeved hooded sweatshirt or



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long sleeved shirt, with a white undershirt, black pants, and black sneakers with white soles. The

handgun carried by SUSPECT #2 was described as a black Glock 17 semi-automatic handgun.

       17.     SUSPECT #3 was not physically seen by VICTIM #1 and VICTIM #2 but was

described as an individual of unkno\\n race and unknown gender.

       18.     After the attempted robbery, Philadelphia Police Department, University of

Pennsylvania Police Department, Drexel Cniversity Police Department, SEPTA Police

Department, AMTRAK Police Department, and members of the Federal Bureau oflnvestigation,

Philadelphia Division Violent Crimes Task Force, responded to the crime scene for processing

and investigation.

       19.     Once on scene, multiple witnesses and VICTIM #l and VICTIM #2 were

interviewed. Video surveillance footage was also obtained from multiple locations, and evidence

was collected from four separate locations.

       20.     At approximately 11 :29 a.m., I recovered the following items from Daniel

Quigley, Badge #65, Drexel Police Department, at 208 North 35th Street, Philadelphia,

Pennsylvania: One black Under Armour face mask and two clear latex gloves. These items are

believed to be items dropped by SUSPECT #2 as he fled the scene. This is based on recovered

video surveillance provided by Drexel Police Department that shows SUSPECT #2 running

northbound on the west side of 35th Street as SUSPECT #2 is about to cross over the intersection

at 35th and Powelton A venue. These items were documented on an FBI property receipt and are

currently being held at PPD's Forensic Laboratory where they are preserved for   D~A


comparison.

       21.     At approximately 11 :30 a.m., the FBI Evidence Response Team responded to

3535 Market Street to process and recover evidence. The evidence most notably recovered from



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the crime scene were: ( 1) a loaded black Glock 17 semi-automatic handgun, serial number

PEY429; (2) approximately $434,000 in cash dropped by SlJSPECT #2; and (3) a drum-style

magazine loaded with ammunition dropped by SUSPECT #1. The loaded Glock 17 semi-

automatic handgun and the drum-style magazine were transported to FBI Philadelphia and

transferred into the custody of Philadelphia Police Department's Forensic Laboratory and

preserved for DNA comparison. The cash was transported to Wilmington, Delaware, where the

money was counted and returned to the custody of Gardaworld

       22.     At approximately 11 :41 a.m., I recovered the following items from Sergeant

Gregg, Badge #50, Drexel Police Department, at 300 :t\orth 35th Street, Philadelphia,

Pennsylvania: ( 1) one black holster; and (2) one black nylon glove with plastic fingertips and

blue stitching at the wrist. These items are believed to be items dropped by SCSPECT #2 as he

fled the scene. This is based on recovered video surveillance provided by Drexel Police

Department that shows SUSPECT #2 running away and getting into a blue GMC Terrain at 35th

and Pearl Street. These items were documented on an FBI property receipt and turned over to

PPD's Forensic Laboratory where they were preserved for DNA comparison.

       23.     At approximately 12:08 p.m., I recovered the following items from Police Officer

Kathy Lewis, Badge #2405, Payroll 197726, PPD, at 3614 Pearl Street, Philadelphia,

Pennsylvania: (1) one black cloth sack recovered from the sidewalk; and (2) a 2006 burgundy

Chevrolet Trailblazer, Pennsylvania Tag JPB-6437, VIN: 1GNDTl3S362237386. At the time of

the recovery, the Chevrolet Trailblazer matched the description of the vehicle and had gunshot

damage visible from the outside of the vehicle. The Chevrolet Trailblazer was transported to the

PPD Auto Squad while investigators sought a federal search warrant.




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          24.    Database checks conducted on the license plate for the Chevrolet Trailblazer

identified the registered owner as AN11IONY WALLACE.

          25.    Special Agent Cook obtained video surveillance footage from Drexel L'niversity

for the surrounding area, to include the area of 3405 Pearl Street. The surveillance footage

specifically showed a blue GMC Terrain,    ~orth   Carolina Tag of PEN-2357, driven by an

unknown black individual. The GMC Terrain had damage to the front passenger door and a

string of beads hanging from the rearview mirror. Additional footage obtained from video

surveillance showed an unknown black male, believed to be TYREE HOLMES, running

northbound on the 300 block of 35th Street, and entering the GMC Terrain at 35th and Pearl

Street.

          26.    On August 5, 2019, surveillance footage from the August 1, 2019, attempted

armed robbery at 3535 Market Street and surveillance photographs of SUSPECT #2 fleeing from

the scene were submitted to media outlets to solicit tips from the public. Specifically, three

surveillance photographs were submitted to media outlets, including YouTube, showing

SUSPECT #2 at different angles.

          27.    On August 6, 2019,. a federal search warrant was obtained for the Chevrolet

Trailblazer.

          28.    On August 8, 2019, a search was conducted of the Chevrolet Trailblazer.

Recovered from the Chevrolet Trailblazer was a black Motorola handheld radio. The hand held

radio was recovered from the center console and determined to be a Motorola CP200XLS, Serial

CPX3009, affixed with a white label of "BRULEE 11" on the front. The radio was submitted to

PPD's Forensic Laboratory for fingerprint and DNA analysis.




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       29.     On August 8, 2019, at approximately 9:31 a.m., I received a tip from PPD Police

Officer Dennis Lippert, Badge #4924. Officer Lippert watched the media release for the August

1, 2019, attempted armed robbery and believed the individual fleeing the attempted armed

robbery was TYREE HOLMES.

       30.     On August 8, 2019, at approximately 4:55 p.m., PPD Police Officer Mikal Carr,

Badge #1250, contacted Detective Carey in reference to the footage submitted to media outlets.

Officer Carr told Detective Carey that the individual depicted in the YouTube video was TYREE

HOLMES. Officer Carr told Detective Carey that he initially could not recall TYREE HOLMES'

name but immediately recognized his face. Officer Carr then used the Philadelphia Police

Department Mugshot lmager and learned that the male's name is TYREE HOLMES. Officer

Carr stated he had five or six encounters with TYREE HOLMES in the last two years in the area

of 3400 Wallace Street and 600 Shedwick Street, Philadelphia, Pennsylvania.

       31.    On August 14, 2019, investigators conducted an open source check for the

Motorola CP200XLS, Serial CPX3009, affixed with a white label of"BRlJLEE 11," recovered

from the search of the Chevrolet Trailblazer on August 8, 2019. The search identified the hand

held radio as property of Brulee Catering, located inside The Met Philadelphia, 858 North Broad

Street, Philadelphia, Pennsylvania. Investigators called and spoke to an employee of Brulee

Catering ("EMPLOYEE # l "), who confirmed that the hand held radio belonged to Brulee

Catering and was last signed out by TYREE HOLMES and was never returned.

       32.    On August 15, 2019, I interviewed EMPLOYEE #1. EMPLOYEE #1 was shown

a driver's license photograph of TYREE HOLMES. After reviewing the photograph,

EMPLOYEE #l stated, "That's our guy. That's Tyree."




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       33.     EMPLOYEE #l provided a copy of TYREE HOLMES' work schedule. The work

schedule showed TYREE HOLMES punched in his code for work at approximately 10:46 a.m.,

on August 1, 2019. Additionally, TYREE HOLMES was scheduled to work on August 7, 2019,

but did not come into work that day. TYREE HOLMES has not been in contact with any

employees of Brulee Catering since August 6, 2019.

       34.     EMPLOYEE #l said that up until August 1, 2019, TYREE HOLMES had long

dreadlocks; however, sometime between August 4, 2019, and August 6, 2019, TYREE

HOLMES cut his hair to about shoulder length and came to work with shorter dreadlocks.

       35.     EMPLOYEE #l was then shown a surveillance photograph from the August 1,

2019, attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. After

reviewing the surveillance photograph EMPLOYEE #l said, "I'm 130% positive that's Tyree. I

recognize the pants. He wears the sweat pants sometimes in here (work)."

       36.     EMPLOYEE #1 was shown a second surveillance photograph from the August 1,

2019, armored car attempted robbery at 3535 Market Street, Philadelphia, Pennsylvania. After

reviewing the surveillance photograph, EMPLOYEE #l said, "That's the length of his (TYREE

HOLMES) dreads before he cut them."

       37.     On August 15, 2019, I also interviewed EMPLOYEE #2. EMPLOYEE #2 was

shown a driver's license photograph of TYREE HOLMES. After reviewing the photograph,

EMPLOYEE #2 said, "Yes, that's the individual I know as Tyree Holmes."

       38.     EMPLOYEE #2 was shown a surveillance photograph from the August 1, 2019

armored car attempted robbery at 3535 Market Street, Philadelphia, Pennsylvania. After

reviewing the surveillance photograph EMPLOYEE #2 said, "1bis could be Tyree. Side profile.




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The way he looks. The build is absolutely similar. The facial features, beard, look similar. It

appears to be Tyree. The nose looks familiar. The facial features.",

       39.     EMPLOYEE #2 was shown a second surveillance photograph from the August 1,

2019, attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. After

reviewing the surveillance photograph, EMPLOYEE #2 said, "The photo is blurry. I'm more

sure that it is him (Tyree) than it's not him. It appears to be Tyree."

       40.     On August 15, 2019, I also interviewed EMPLOYEE #3. EMPLOYEE #3 was

shown a driver's license photograph of TYREE HOLMES. After reviewing the photograph,

EMPLOYEE #3 said, '"This is Tyree."

       41.     EMPLOYEE #3 worked with TYREE HOLMES every day. EMPLOYEE #3 last

saw TYREE HOLMES on August 6, 2019. EMPLOYEE #3 last spoke to TYREE HOLMES via

text on August 6, 2019. EMPLOYEE #3 provided TYREE HOLMES' cellular telephone number

as 717-247-4899. TYREE HOLMES had two cellular telephones but EMPLOYEE #3 only had

the number associated w'ith the one phone TYREE HOLMES used for work purposes.

       42.     EMPLOYEE #3 was shown a surveillance photograph from the August 1, 2019,

attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. After reviewing the

surveillance photograph EMPLOYEE #3 said, '"Looks like Tyree. His face and his hair."

       43.     On August 15, 2019, I requested subscriber and call detail records from

VERIZON WIRELESS for 717-247-4899, for the time period of June 1, 2019, to present, via

grand jury subpoena.

       44.     On August 17, 2019, a tip :vas received by the FBI National Threat Operations

Center ("NTOC"). The tipster, D.P., identified the individual depicted in the media release as

TYREE HOLMES.



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       45.    On August 19, 2019, a second tip was received by the NTOC. The tipster, C.L.,

identified the individual depicted in the media release as TYREE HOLYIES. C.L. said TYREE

HOLMES was employed at "The Met on Broad Street in Philadelphia; however, HOLMES

"disappeared" two weeks ago, and has not returned to work." C.L. provided TYREE HOLMES'

cellular telephone number as 717-247-4899.

       46.    On August 21, 2019, I interviewed an additional employee of Brulee Catering,

EMPLOYEE #4. EMPLOYEE #4 was shown a driver's license photograph of TYREE

HOLMES. After reviewing the photograph, EMPLOYEE #4 said, "Yup, that's Tyree."

       47.     EMPLOYEE #4 was also shown a surveillance photograph from the August 1,

2019, attempted robbery at 3535 Market Street, Philadelphia, Pennsylvania. After reviewing the

photograph, EMPLOYEE #4 said, "Looks like his (HOLYIES) frame. Eyes sort of look indented

more than Tyree but the facial features resemble Tyree."

       48.    EMPLOYEE #4 provided TYREE HOLMES' cellular telephone number as 717-

247-4899.

       49.    Investigators know that on February 11, 2019, and August 17, 2019, TYREE

HOLMES was stopped by police in a blue 2015 GMC Terrain, Pennsylvania Tag KSM-4078,

VIN: 2GKALMEK5F6 l 824 l l.

       50.    On September 11, 2019, Detective Carey conducted a Vehicle/Pedestrian Report

search for Pennsylvania Tag KSM-4078 (GMC Terrain) through the Philadelphia Police

Department 48A system. The search results identified a blue 2015 GMC Terrain, Pennsylvania

License Plate KSM-4078,   VI~:   2GKALYIEK5F6 l 82411, was seized by Philadelphia Police

Department and impounded by Philadelphia Parking Authority on September 10, 2019.




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       51.    Detective Carey and Special Agent Faith E. Greenawalt traveled to Philadelphia

Parking Authority ("PPA"), 2501 Weccacoe Avenue, Lot #1, Philadelphia, Pennsylvania, where

the vehicle was impounded. The vehicle was observed and photographed in the PP A lot. The

impounded vehicle was identified as a blue 2015 GMC Terrain, Pennsylvania Tag KSM-4078,

VIN: 2GKALMEK5F618241 l.

       52.    While observing the vehicle, I observed a string of blue beads hanging from the

rearview mirror and obvious damage to the front passenger door.

       53.    I then compared the blue 2015 GMC Terrain, Pennsylvania Tag KS'.'\1-4078, VP.\::

2GKALMEK5F618241 l, located in the impound lot, to the surveillance photographs obtained of

the GMC Terrain in the area of Pearl Street on August 1, 2019, as SUSPECT #2 (TYREE

HOLMES) fled from the attempted armed robbery. The string of beads hanging from the

rearview mirror and the damage to the front passenger door are consistent with both vehicles.

       54.    The vehicle was then placed in Philadelphia Police Department custody by

Detective Carey. The vehicle was then transported to PPD Auto Squad, 4298 '.'\1aCalester Street,

Philadelphia, Pennsylvania, 19120, by a PP A tow truck, until a search warrant could be obtained.

       55.    On September 11, 2019, Detective Carey interviewed Philadelphia Police

Department Officer Steve Leach at Philadelphia FBI, 600 Arch Street, 8th Floor, Philadelphia,

Pennsylvania 19106, regarding the September 10, 2019, stop and impound of the blue 2015

GMC Terrain, VIN: 2GKALMEK5F6 l 824 l l. Officer Leach was shown a photograph of

TYREE HOLMES and identified him as the driver of the vehicle at the time of the stop. Officer

Leach was also shown a photograph ofGLADISHA ECHEVARRIA. Officer Leach identified

GLADISHA ECHEVARRIA as the black female who showed up during the stop and identified

herself as the owner of the blue 2015 GMC Terrain, VIN: 2GKALMEK5F6182411.



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        56.     On September 17, 2019, Detective Matthew Carey and I interviewed GLADISHA

ECHEVARRIA at FBI Philadelphia, 600 Arch Street, 8th Floor, Philadelphia, PA. The interview

of ECHEVARRIA was visually and audibly recorded. ECHEVARRIA identified herself as the

owner of the blue GMC Terrain, Pennsylvania tag number KSM-4078, VIN:

2GKALMEK5F618241 l.

        57.     ECHEVARRIA was shown a photograph of the blue GMC Terrain, Pennsylvania

tag number KSM-4078, VIN: 2GKALMEK5F618241 l, recovered by Detective Carey and I on

September 11, 2019. ECHEVARRIA identified the vehicle in the photograph as the vehicle she

owns.

        58.     ECHEVARRIA was then shown three surveillance photographs of the GMC

Terrain pulled from video surveillance footage obtained in the area of.3405 Pearl Street,

Philadelphia, Pennsylvania, on August 1, 2019.

        59.     The first surveillance photograph was a photograph of the GMC Terrain showing

the front windshield and the passenger side of the vehicle. After reviewing the photograph,

ECHEVARRIA stated the vehicle in the photograph had damage to the passenger side of the

vehicle that was consistent with the damage to ECHEVARRIA's GMC Terrain. ECHEVARRIA

also said she could see the blue "vicca" beads hanging from the rear view mirror of the vehicle in

the photograph which are the same blue '"vicca" beads hanging from the rear view mirror of her

GMC Terrain. ECHEVARRIA signed and <lated the photograph identifying the vehicle in the

surveillance photograph as the same vehicle she owns.

        60.     The second surveillance photograph ECHEVARRIA was shown depicted the rear

end of a GMC Terrain, bearing a North Carolina tag. ECHEVARRIA circled the license plate

and wrote, "My car. Wrong plates." ECHEVARRIA told investigators she had never seen the



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North Carolina license plate before and did not know where it came from. ECHEVARRIA

signed and dated the second surveillance photograph of the GMC Terrain.

        61.     The third surveillance photograph ECHEVARRIA was shown depicted the

driver's side of the GMC Terrain. ECHEVARRIA identified the vehicle in the surveillance

photograph as, "My car." ECHEVARRIA signed and dated the surveillance photograph.

        62.     ECHEVARRIA was shown a Pennsylvania driver's license of TYREE HOLMES.

ECHEVARRIA identified the individual depicted in the driver's license photograph as her

brother, TYREE HOLMES, but said TYREE HOLMES had since cut his dreadlocks to a short

hairstyle.

        63.     ECHEVARRIA was shown a surveillance photograph from the August 1, 2019,

attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. The surveillance

photograph depicted a black male at 35th and Powelton Avenue, Philadelphia, Pennsylvania,

which was released to the media. ECHEVARRIA reviewed the surveillance photograph and said,

"Looks like Tyree L. Holmes, which is my only brother." ECHEVARRIA signed and dated the

surveillance photograph.

        64.     At the conclusion of the interview, ECHEVARRIA provided investigators written

and verbal consent for the search of her Apple iPhone 6, cellular telephone 267-844-2848, and

her blue 2015 GMC Terrain, Pennsylvania Tag KSM-4078, Vli\i: 2GKALMEK5.F618241 l.

        65.     On September 17, 2019, a consent search of the blue 2015 GMC Terrain,

Pennsylvania Tag KSM-4078,     V~:   2GKALMEK5.F618241 l was conducted in the presence of

ECHEVARRIA. One item of note recovered from the vehicle was a string of blue "vicca" beads

handing from the rearview mirror. lbe vehicle was then released into the custody of

ECHEVARRIA.



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       66.     Investigators conducted database checks for TYREE HOLMES, to include a

criminal history, prior arrests, driver's license check, and vehicle check.

       67.     Investigators compared the driver's license photograph of HOLMES with that of

the surveillance photographs from the August 1, 2019, attempted armed robbery of Gardaworld

armored car, located at 3535 Market Street, Philadelphia, Pennsylvania. Investigators believe the

individual depicted in the surveillance photographs of SUSPECT #2 fleeing from the attempted

armed robbery appear to be TYREE HOLMES.

       68.     I compared the physical appearance and description of HOLMES with that of the

physical description provided by victims and witnesses. Investigators believe HOLMES fits the

physical descriptions provided by the victims and witnesses that were interviewed.

       69.     On September 30, 2019, a federal criminal complaint and arrest warrant ( 19-

1652-M) was issued by the llonorable Carol Sandra Moore Wells, United States Magistrate

Judge for the Eastern District of Pennsylvania, for TYREE HOLMES for the previously

mentioned violations.

       70.     From September 30, 2019, until TYREE HOLMES was arrested on February 18,

2020, investigators made several attempts to locate HOLMES. Based on my training and

experience, I believe it would have been very unlikely for HOLMES to have been unaware that

he was a wanted fugitive. For example: (a) agents interviewed family members and friends of

HOLMES, including his sister, who provided consent to search the car that HOLMES used

during the robbery; (b) agents conducted physical surveillance of addresses known to be

associated with HOLMES; (c) beginning on December 11, 2019, the FBI featured TYREE

HOLMES on an electronic billboard in the Philadelphia region as a Wanted Fugitive; and (d) on

December 16, 2019, and February 10, 2020, TYREE HOLMES was featured in the Philadelphia



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Daily News as the "Week's ~ost Wanted" for failure to appear in court and for theft. 1 Evidence

of TYREE HOLMES' flight to avoid prosecution when he was a known fugitive may be

evidence of his consciousness of guilt. Indeed, when HOLMES was finally arrested, he provided

officers a fake name and date of birth (discussed below). 2

       71.     On February 18, 2020, at approximately 8:02 p.m., 19th District Philadelphia

Police Department Police Officer Timothy Sedler, Badge# 7552, and Officer Terone Travis,

Badge# 9612, conducted a traffic stop at 5900 Arch Street, Philadelphia, PA, on a black 2016

Sonata Hyundai, Pennsylvania plate KYM2079. The driver of the vehicle identified himself as

Trevor Holmes and provided his date of birth as 0211211992. The driver was fingerprinted at the

scene with a PPD MFID scanner and identified as TYREE HOLMES, date of birth 01/2411992.

TYREE HOLMES was placed under arrest for a local bench warrant. TYREE HOLMES was

transported by Officers Sedler and Travis to Southwest Detectives located at 5510 Pine Street,

Philadelphia, PA.

       72.     On February 19, 2020, at approximately 10:06 a.m., Special Agent Faith E.

Greenawalt and Detective Matthew Carey traveled to Southwest Detectives, located at 55 ro Pine

Street, Philadelphia, PA, where HOLMES was being held on local charges. Upon arrival,

HOLMES was placed under arrest for the August 1, 2019, attempted armed robbery of

Gardaworld at 3535 Market Street, Philadelphia, PA.

       73.     At the time of TYREE HOLMES' arrest, SA Greenawalt seized the following

item from TYREE HOLMES: one black Apple iPhone 6s, Model A1633, IMEI



       1
         The Philadelphia Daily News features focused on the failure to appear and theft
warrants because, at the time, the attempted armed robbery arrest warrant was under seal.
       2
        After his arrest, HOLMES told agents that he knew he was wanted for the failure to
appear warrant, but claimed he did not kn?w he was wanted for the attempted armed robbery.
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353255079143106. TYREE HOL!vfES verbally provided SA Greenawalt and Detective Carey

the telephone number associated with the phone as the Subject Telephone (646-897-4012).

TYREE HOLMES did not provide the passcode to access the iPhone 6s.

       74.     As discussed above, the evidence shows that during the time period of the August

1, 2019 attempted armed robbery, TYREE HOLMES was known to utilize more than one

cellular telephone. One of those phones was described as having telephone number 717-247-

4899. Agents obtained records for that phone number, which indicate the number was assigned

to an iPhone 8 with IMEi 356082094049515. The Subject Telephone is an Apple iPhone 6s and

has a different IMEI; however, I believe the Subject Telephone recovered on TYREE HOLMES'

person at the time of his arrest may contain evidence regarding the attempted armed robbery. I

know from my training and experience that people engaged in criminal conduct often use more

than one phone at the same time. Furthermore, even if HOLMES acquired the Subject

Telephone after the attempted armed robbery, there is probable cause to believe that evidence

will be located in the Subject Telephone. Based on my training and experience, I know that

items that were originally stored on one phone can be transferred to another phone (including,

but not limited to text messages, photographs and videos, contacts and note files). Fugitives

often communicate with co-conspirators and associates regarding their fugitive status and law

enforcement's attempts to locate them, and sometimes will attempt to conduct research on the

investigation (such as by performing internet searches for news articles about the crime).

       75.     Additionally, HOLMES' actions while a fugitive may also be evidence of his

involvement in the attempted armed robbery. For example: (a) TYREE HOLMES stopped

reporting to work on August 7, 2019, two days after the August 5, 2019, media release of




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SUSPECT #2's involvement in the armored car robbery 3; (b) TYREE HOLMES stopped

communicating with certain friends, family, and co-workers on the telephone number known to

law enforcement; (c) TYREE HOLMES changed his cellular telephone known to friends, family,

and co-workers4 ; and (d) TYREE HOLMES changed his appe.arance by shaving his head after

growing his waist long dreadlocks since 2013. Based on my training and experience, I know that

individuals who abruptly change multiple aspects of their lives at one time, including their work

status, physical appearance, and contact with friends and family, are acting so because of a guilty

conscious and are specifically changing their normal routines and contacts to avoid detection by

law enforcement.

       76.     Investigators know there were multiple individuals involved in the attempted

armed robbery. The other individuals involved in this crime are currently at large and pose a

serious threat to the Philadelphia community. Information believed to be contained in the Subject

Telephone could provide investigators with evidence against TYREE IIOLMES' co-conspirators

and the identity of the additional co-conspirators through text messages, contacts, photographs,

notes, emails, and other electronic communications/information stored on the device.

       77.     The Subject Telephone is currently in storage at the FBI Philadelphia Division

stored in a manner in which its contents are in substantially the same state as they were when the

Subject Telephone first came into the possession of the FBI.




       3
        According to Brulee Catering employment records,' TYREE HOLMES was hired by
Brulee Catering on March 14, 2019.
       4
        According to Verizon Wireless returns for 717-247-4899, TYREE HOLMES had that
number since February 27, 2019.
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    D. TECHNICAL TERMS

        78.     The Subject Telephone is a wireless telephone. A wireless telephone (or mobile

telephone, or cellular telephone) is a handheld wireless device used for voice and data

communication through radio signals. These telephones send signals through networks of

transmitter/receivers, enabling communication with other wireless telephones or traditional "land

line" telephones. A wireless telephone usually contains a "call log," which records the telephone

number, date, and time of calls made to and from the phone. In addition to enabling voice

communications, wireless telephones offer a broad range of capabilities. These capabilities

include: storing names and phone numbers in electronic "address books"; sending, receiving, and

storing text messages and e-mail; taking, sending, receiving, and storing still photographs and

moving video; storing and playing-back audio files; storing dates, appointments, and other

information on personal calendars; and accessing and downloading information from the

Internet. Wireless telephones may also include global positioning system ("GPS") technology

for determining the location of the device.

        79.     Based on my training, experience, and research, I know that the Subject

·Telephone has capabilities that allow it to serve as a ~reless telephone, digital camera, portable

media player, GPS navigation device, and PDA. In my training and experience, examining data

stored on devices of this type can uncover, among other things, evidence that reveals or suggests

who possessed or used the device.

    E. ELECTRONIC STORAGE AND FORENSIC ANALYSIS

        80.     Based on my training and experience, I know that electronic devices such as cell

phones can store information for long periods of time. Even when a user deletes information

from a device, it can sometimes be recovered with forensic tools. Similarly, things that have



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been viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensic tools.

       81.     Furthermore, based on my training and experience, I know that people who

engage in robberies will often communicate with their coconspirators and/or accomplices by way

of cellular telephone (including via text message) before, during, and after the commission of a

robbery. Further, I am aware that people who engage in robberies will often use the Internet

(including on their cell phones) to search for information about their intended victims, such as

the locations and hours of businesses. Further, I am aware that people who engage in robberies

often possess photographs (including in their phones) of themselves and their

coconspirators/accomplices; the victims of their robberies; clothing worn during the robberies;

weapons and other items used during the robberies; the proceeds of their robberies; and items

purchased with the proceeds of the robberies. I also know from my training and experience that

criminals, including those who engage in robberies, often have multiple phones to facilitate their

commission of illegal activities while attempting to thwart identification by law enforcement

through the use of multiple phones or "burner'' phones which cannot be traced back to an

individual. HOLMES has changed his cellular telephone and/or telephone number multiple

times since the armored car robbery took place on August 1, 2019.

       82.     Evidence of calls and text messages made by, to, and among the members of this

robbery conspiracy in the course of the events described in this Affidavit are expected to be

disclosed by the requested searches. Among other reasons cited herein, searches of the Subject

Telephone are required to determine the telephone number assigned to the device, thus enabling

their identification as the phones used by the members of this conspiracy. Also, by analyzing
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call activity, agents may be able to determine where other accomplices were in the area, and if

there were communications between accomplices during the commission of the crime.

       83.        This application seeks permission to locate not only electronically stored

information that might serve as direct evidence of the crimes described on the warrant, but also

forensic evidence that establishes how the device was used, the purpose of its use, who used it,

and when. There is probable cause to believe that this forensic electronic evidence might be on

the device because:

             a.      Data on the storage medium can provide evidence of a file that was once on

                     the storage medium but has since been deleted or edited, or of a deleted

                     portion of a file (such as a paragraph that has been deleted from a word

                     processing file);

             b.      Forensic evidence on a device can also indicate who has used or controlled the

                     device. This "user attribution" evidence is analogous to the search for

                     "indicia of occupancy" while executing a search warrant at a residence;

             c.      A person with appropriate familiarity with how an electronic device works

                     may, after examining this forensic evidence in its proper context, be able to

                     draw conclusions about how electronic devices were used, the purpose of their

                     use, who used them, and when;

             d.      The process of identifying the exact electronically stored information on a

                     storage medium that is necessary to draw an accurate conclusion is a dynamic

                     process. Electronic evidence is not always data that can be merely reviewed

                     by a review team and passed along to investigators. Whether data stored on a

                     device is evidence may depend on other information stored on the device and



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                     the application of knowledge about how a device behaves. Therefore,

                     contextual information necessary to understand other evidence also falls

                     within the scope of the   warrant~   and

             e.      Further, in finding evidence of how a device was used, the purpose of its use,

                     who used it, and when, sometimes it is necessary to establish that a particular

                     thing is not present on a storage medium.

       84.        Searching for the evidence described in Attachment B to the Subject Telephone

search warrant may require a range of data analysis techniques. In some cases, agents and

computer analysts may be able to conduct carefully targeted searches that can locate evidence

without requiring a time consuming manual search through unrelated materials that may be

commingled with criminal evidence. In other cases, however, such techniques may not yield the

evidence described in the warrant. Criminals can mislabel or hide information, encode

communications to avoid using key words, attempt to delete information to evade detection, or

take other steps designed to frustrate law enforcement searches for information. These steps may

require agents and law enforcement or other analysts with appropriate expertise to conduct more

extensive searches, such as scanning storage areas unrelated to things described in Attachment B,

or perusing all stored information briefly to determine whether it falls within the scope of the

warrant. In light of these difficulties, and consistent with Federal Rule of Criminal Procedure

41(e)(2)(B), the warrant I am applying for would permit the examination of the device using

whatever data analysis techniques appear necessary to locate and retrieve the evidence described

in Attachment B.




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       85.     Based on the foregoing, I believe that probable cause exists to believe that

TYREE HOLMES committed violations of 18 U.S.C. §§ l 95l(a) (attempted robbery which

interferes with interstate commerce), 18 U.S.C. §§ 924(c)(l) (using, carrying, and brandishing a

firearm during and in relation to a crime of violence, and 18 u.S.C. §§ 2 (aiding and abetting).




                                             fAJnf~~~
                                             Special Agent
                                             Federal Bureau of Investigation

Sworn and Subscribed to before me

This J7-t;;;of    r:~               '2020




ll~bl~R
United States Magistrate Judge
Eastern District of Pennsylvania




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                                       ATTACHMENT A

                The property to be searched is:

           a.      A black iPhone 6s, model Al633, IMEI 353255079143106, currently located

                   at the FBI Philadelphia Division and assigned evidence item number 1B151

                   within FBI case file l 92C-PH-3147066, which was retrieved off of

                   HOLMES' person.

       This warrant authorizes the forensic examination of the Subject Telephone for the

purpose of identifying the electronically stored information described in Attachment B.
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                                       ATTACHMENTB

       1.      All records on the Subject Telephone described in Attachment A that relate to

violations of Title 18 U.S.C. §§ 195 l(a) (attempted robbery which interferes with interstate

commerce), 18 lJ. S. C. §§ 924( c)(1) (using, carrying, and brandishing a firearm during and in

relation to a crime of violence, and 18 U .S.C. §§ 2 (aiding and abetting)' including:


               a.      Documents in electronic form, including correspondence, records, opened

                       or unopened emails, text messages, voicemail messages, call logs, chat

                       logs, internet history, GPS data and map history pertaining to the planning

                       or commis,sion of robberies or shootings; the possession of firearms or

                       ammunition; and the distribution, expenditure or location of proceeds of

                       robberies.

               b.      Photographs relating to the planning or commission of robberies or

                       shootings or the possession of firearms or ammunition, including

                       photographs of TYREE HOLMES and his coconspirators/accomplices;

                       the victims of their robberies; clothing worn during the robberies; weapons

                       and other items used during the robberies; the proceeds of their robberies;

                       items purchased with the proceeds of the robberies; and TYREE

                       HOLMES' activities between the time frame of September 30, 2019 and

                       the day of his arrest on February 19, 2020.

               c.      Address books and calendars.

       2.      Evidence of user attribution showing who used or owned the device at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history.


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       3.      As used above, the terms '"records" and '"information" include all of the foregoing

items of evidence in whatever form and by whatever means they may have been created or

stored, including any form of computer or electronic storage (such as flash memory or other

media that can store data) and any photographic form, including:

            a. Forms of computer or electronic storage (such as flash memory or other media

               that can store data) and any photographic form.

            b. Data that has been manually programmed into a GPS navigation system, as well

               as data automatically stored by the GPS navigation system, including any and all

               electronic data which can be collected, analyzed, created, displayed, converted,

               stored, concealed, or transmitted, or similar computer impulses or data.

            c. Stored electronic information and communications, including but not limited to,

               telephone or address directory entries consisting of names, addresses and

               telephone numbers; logs of telephone numbers dialed, telephone numbers of

               missed calls, and telephone numbers of incoming calls; schedule entries; stored

               memoranda; stored text messages; stored photographs; store audio; and stored

               video.

       4.      Evidence and contents of logs and files on the device, such as those generated by

the device's operating system, which describes the history and use of the device, including but

not limited to files indicating when files were written, were opened, were saved, or were deleted.

Evidence tending to show the identity of the person using the device at the time any actions

relating to the above offenses were taken.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and



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        instrumentalities described in this warrant. The review of this electronic data may be conducted

        by any government personnel assisting in the investigation, who may include, in addition to law

        enforcement officers and agents, attorneys for the government, attorney support staff, and

        technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or

        copied electronic data to the custody and control of attorneys for the government and their

        support staff for their independent review.




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